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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION
JUANITA EVANS-POLK
                           ,           )
              Plaintiff (s),           )
                                       )
                                                         4:23-cv-00997
      v.                               )     Case No.
                                       )
KOHNER PROPERTIES, INC.                )
                        ,              )
              Defendant(s).            )

                                   NOTICE OF INTENT TO USE
                                      PROCESS SERVER
                     Plaintiff
Comes now                       and notifies the court of the intent to use
         (Plaintiff or Defendant)
                 Jose Pineiro

      (name and address of process server)
      1430 Washington Ave Suite 220


              St Louis, MO 63103



To serve:                KOHNER PROPERTIES, INC.

                                                          in the
      (name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the

requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.
     08/13/2023                                    /s/ Mohammed O. Badwan

      (date)                                 (attorney for Plaintiff)


                                             (attorney for Defendant)
